Case 5:22-cv-00922-MEMF-SP Document 1-3 Filed 06/02/22 Page 1 of 3 Page ID #:21




                   EXHIBIT B
          Case 5:22-cv-00922-MEMF-SP Document 1-3 Filed 06/02/22 Page 2 of 3 Page ID #:22



                                                                  UN]TED STATES
                                                      SECUR]TIES AND EXCHANGE COTMlsSloN
                                                               Washlngton, DC 205'09

                                                                        FORilt 10-r(

                               El Annual report pursuant to Section 1 3 or 1 5(d) of the Securities Exchange Act of 1934
                                                   Fc the ffecal year ended December 31, 2019
                                                                                or
                              E   Transition report pursuant to Seclion 13 or 15(d) of the Securities Exchange Ac-t of 1934
                                                Forthe transition period ftom    _to
                                                             Gommlsslon flle number l-3950

                                                           Ford Motor Company
                                                    (Exact name of Regisfiantas specified in its chafter)


                    Delawarc                                                                                                          38.0549190
             (Stateof inar@ntion)                                                                                    (1.   R.   S. Employer ldentificafnn No.)


             OneAmerlcan Road
            Dearbom, Mlchlgan                                                                                                              l|8126
     (Address of pincipal executive ofrces)                                                                                            (Zp Code)
                                                                       313-322€000
                                                   (Registnanf's telephone number, including area code)

Securlffes registered purcuantto Sectlon 12(b) of the Act:
                     Tltle of each class                             Tradlng symbols               Name of each exchange on which regaster€d
                                       share
          Common Stock, par value $.01 per                                  F                                 New York Stock Exchange
                                  1,2059
               6.2fi)o/o Notes due June                                    FPRB                               New.York Stock Exchange
            6.000% Notesdue December 1,2059                                FPRC                               NewYorkStock Exchange

Securlffee !€glster€d purBuant to Sectlon 12(g) of the       Act   None.

    lndicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Secudties              Act. Yes El No tr
    lndicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Seclion 15(d) of the Acl. Yes            tr No El
      lndicate by check mark if the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Acl of 1934
during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subjecl to such
filing requirements for the past 90 days. Yes  El    No tr

    lndacate by check mark whether the registrant has submitted electronically every lnteractive Data File required to be submitted pursuant to Rule
405 of Regulation S-T (S 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to
submit suclr files). Yes El No tr
    lndicate by check mark whether the registrant is a large accelerated ftler, an accelerated filer, a non-accelerated filer, a smaller reportang
company, or emerging grourth company. See the definitions of "large accelerated ltler," "accelerated filer," "smaller reporting company,' and
"emerging growth companyr in Rule 12b-2 of the Exchange Acl.

    Large accelerated ftler El Accelerated filer    E   Non-accelerated filer   tr   Smaller reporting company   E
    Emerging growth company tr

    lf an emerging growth company, indicate by check mark if the registrant has elec,ted not to use the ertended transition period for complying with
any new or revised financial accounting standards provided pursuant to Section 13(a) ofthe Exchange Act.

    lndicate by check mark whether the regastrant is a shell company (as defined in l'lule 1282 of the Act). Yes                tr No El
    As of June 28,2019, Ford had outstanding 3,918,987,194 shares of Common Stock and 70,852,076 shares of Class B Stock. Based on the
New York Stock Exchange Composite Transaction closing price of the Common Stock on that date ($10.23 per share), the aggregate market value
of such Common Stock was $40,091,238,995. Although there is no quoted market br our Class 3 Stock, shares of Class B Stock may be
oonverted at any time into an equal number of shares of Common Stock br the purpose of effecling the sale or other disposition of such shares of
Common Stock. The shares of Common Stock and Class B Stock outstanding at June 28,2019 included shares owned by persons who may be
deemed to be'afftliates" of Ford. We do not believe, however, that any such person should be considered to be an affliate. For information
concerning ownership of outstanding Common Stock and Class B Stock, see the Proxy Statement br Ford's Annual Meeting of Stockholders
cunenty scheduled to be held on May 14,2020 (our "Prory Statement"), which is incorporated by reference under varior ltems of this Report as
         Case 5:22-cv-00922-MEMF-SP Document 1-3 Filed 06/02/22 Page 3 of 3 Page ID #:23
indicated below.

    As of January 31, 2020, Ford had outstanding 3,894,078,249 shares of Common Stock and 70,852,076 shares of Class B Stock. Based on the
New York Stock Exchange Composite Transaction closing price of the Common Stock on that date ($8.82 per share), the aggregate market value of
such Common Stock was $34,345,770,156.

                                                DOCUMENTS INCORPORATED BY REFEREI{CE


                           Document                                                               Wherr lncorporated
                        Prory Statement'                                                   Part lll (ftems 10,11,12,13, and 14)


      As stated under various ltems of this Report, only certain specified portaons of such doorment are incorporated by reference in this Report.




                                                            Exhibit lndex begins on page

                                                                       94
